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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                CASE NO.:

  DOUG LONGHINI,

              Plaintiff,
  v.

  SPG PALMETTO PALMS LLC and
  RELIABLE PARTS, INC.

          Defendants.
  ______________________________________/

                                              COMPLAINT

         Plaintiff, DOUG LONGHINI, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues SPG PALMETTO PALMS LLC and

  RELIABLE PARTS, INC. (hereinafter “Defendants”), and as grounds alleges:

                               JURISDICTION, PARTIES. AND VENUE

         1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and 2202,

  and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

         4.         Plaintiff, DOUG LONGHINI, is an individual over eighteen years of age, residing

  in Miami-Dade County, Florida, and is otherwise sui juris.

         5.         At all times material, Defendant, SPG PALMETTO PALMS LLC, owned and
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  operated a place of public accommodation at 3341, 3351, 3373 and 3390 NW 168th Street, Miami

  Gardens, Florida 33056 (hereinafter the “Commercial Property”) and conducted a substantial

  amount of business in that place of public accommodation in Miami-Dade, Florida.

          6.       At all times material, Defendant, SPG PALMETTO PALMS LLC, was and is a

  Florida Limited Liability Company, organized under the laws of the State of Florida, with its

  principal place of business in West Conshohocken, Pennsylvania.

          7.       At all times material, Defendant, RELIABLE PARTS, INC., owned and operated

  a retail appliance store within 3341, 3351, 3373 and 3390 NW 168th Street, Miami Gardens,

  Florida 33056 (hereinafter the “Commercial Property”) and conducted a substantial amount of

  business in the place of public accommodation in Miami-Dade, Florida1. RELIABLE PARTS,

  INC. holds itself out to the public as “Reliable Parts.”

          8.       At all times material, Defendant, RELIABLE PARTS, INC., was and is a Foreign

  Profit Corporation, organized under the laws of the State of Washington, with its principal place

  of business in Dallas, Texas.

          9.       Venue is properly located in the Southern District of Florida because Defendant’s

  Commercial Property is located in Miami-Dade County, Florida, Defendants regularly conduct

  business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

  omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                         FACTUAL ALLEGATIONS

          10.      Although over twenty-eight (28) years has passed since the effective date of Title

  III of the ADA, Defendant has yet to make its facilities accessible to individuals with disabilities.



  1
   Defendant, Reliable Parts, Inc., lists its address on its website as 3373 NW 168 Street, Miami Gardens, Florida
  33056, however, when this address is input into the Miami-Dade County Appraiser’s website it defers and lists to
  3351 NW 168th Street, Miami Gardens, Florida 33056.

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         11.     Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

  publicity the ADA has received since 1990, Defendant continue to discriminate against people

  who are disabled in ways that block them from access and use of Defendant’s business and

  properties.

         12.     The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance.

         13.     Plaintiff, DOUG LONGHINI, is an individual with disabilities as defined by and

  pursuant to the ADA. DOUG LONGHINI uses a wheelchair to ambulate. DOUG LONGHINI

  has very limited use of his hands and cannot operate any mechanisms which require tight grasping

  or twisting of the wrist. He also has a great deal of trouble walking or otherwise ambulating

  without the use of a wheelchair. He is limited in his major life activities by such, including but

  not limited to walking, standing, grabbing, grasping and/or pinching.

         14.     Defendant, SPG PALMETTO PALMS LLC, INC., owns, operates and oversees

  the Commercial Property, its general parking lot and parking spots.

         15.     The subject Commercial Property is open to the public and is located in Miami

  Gardens, Miami-Dade County, Florida.

         16.     The individual Plaintiff visits the Commercial Property and business located within

  the Commercial Property, regularly, and returned to the Property to document the ADA barriers

  at the Commercial Property and business located within the Commercial Property on or about

  October 8, 2020 encountering multiple violations of the ADA that directly affected his ability to

  use and enjoy the Commercial Property and business located therein. He often visits the

  Commercial Property and business located within the Commercial Property in order to avail



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  himself of the goods and services offered there, and because it is approximately twenty-five (25)

  miles from his residence, and is near his friends’ residences as well as other business he frequents

  as a patron. He plans to return to the Commercial Property and the business located within the

  Commercial Property within two (2) months of filing this Complaint, specifically on January 28,

  2021.

          17.    Plaintiff resides nearby in the same County and state as the Commercial Property

  and the business located within the Commercial Property, has regularly frequented the

  Defendants’ Commercial Property and the business located within the Commercial Property for

  the intended purposes because of the proximity to his and his friends’ residences and other

  business that he frequents as a patron, and intends to return to the Commercial Property and

  business located within the Commercial Property within two (2) months from the filing of this

  Complaint. Specifically, Plaintiff intends to revisit the Property on or before January 28, 2021.

          18.    The Plaintiff found the Commercial Property, and the business located within the

  Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and business located within the Commercial Property and

  wishes to continue his patronage and use of each of the premises.

          19.    The Plaintiff has encountered architectural barriers that are in violation of the ADA

  at the subject Commercial Property, and business located within the Commercial Property. The

  barriers to access at Defendant’s Commercial Property, and the business located within the

  Commercial Property has each denied or diminished Plaintiff’s ability to visit the Commercial

  Property, and business located within the Commercial Property, and has endangered his safety in

  violation of the ADA. The barriers to access, which are set forth below, has likewise posed a risk

  of injury(ies), embarrassment, and discomfort to Plaintiff, DOUG LONGHINI, and others



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  similarly situated.

         20.     Defendant, SPG PALMETTO PALMS LLC, INC., owns and operates a place of

  public accommodation as defined by the ADA and the regulations implementing the ADA, 28

  CFR 36.201 (a) and 36.104. Defendant, SPG PALMETTO PALMS LLC, INC., is responsible

  for complying with the obligations of the ADA. The place of public accommodation that

  Defendant, SPG PALMETTO PALMS LLC, INC., owns and/or operates is located at 3341; 3351;

  3390 NW 168th Street, Miami Gardens, Florida 33056.

         21.     Plaintiff, DOUG LONGHINI, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendant’s non-compliance with the ADA with respect to the

  described Commercial Property and the business located within the Commercial Property,

  including but not necessarily limited to the allegations in this Complaint. Plaintiff has reasonable

  grounds to believe that he will continue to be subjected to discrimination at the Commercial

  Property, and business located within the Commercial Property, in violation of the ADA. Plaintiff

  desires to visit the Commercial Property and business located therein, not only to avail himself of

  the goods and services available at the Commercial Property, and business located within the

  Commercial Property, but to assure himself that the Commercial Property and business located

  within the Commercial Property are in compliance with the ADA, so that he and others similarly

  situated will has full and equal enjoyment of the Commercial Property, and business located

  within the Commercial Property without fear of discrimination.

         22.     Defendant, SPG PALMETTO PALMS LLC, INC., as landlord and owner of the

  Commercial Property Business, is responsible for all ADA violations listed in both Counts of this

  Complaint.

         23.     Defendants have discriminated against the individual Plaintiff by denying him



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   access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

   and/or accommodations of the Commercial Property, and business located within the Commercial

   Property, as prohibited by 42 U.S.C. § 12182 et seq.

                                  COUNT I – COMMON AREAS
                                  SPG PALMETTO PALMS LLC

          24.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

   23 above as though fully set forth herein.

          25.     Defendant, SPG PALMETTO PALMS LLC, has discriminated, and continues to

   discriminate, against Plaintiff in violation of the ADA by failing, inter alia, to have accessible

   facilities by January 26, 1992 (or January 26, 1993, if a Defendants have 10 or fewer employees

   and gross receipts of $500,000 or less). A list of the violations that Plaintiff encountered during

   his visit to the Commercial Property, include but are not limited to, the following:

          I. 3390 NW 168th Street (Southwest Parcel)

      A. Parking

 i.   The plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

      aisles are located on an excessive slope. Violation: There are accessible parking space access

      aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4

      of the 2010 ADA Standards, whose resolution is readily achievable.

      B. Entrance Access and Path of Travel

 i.   The plaintiff had difficulty traversing the path of travel, as it was not continuous and

      accessible. Violation: There are inaccessible routes between sections of the facility. These are

      violations of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and Sections

      206.2.2, 303, 402 and 403, whose resolution is readily achievable.

ii.   The plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess of


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       2%. Violation: The path of travel contains excessive cross slopes in violation of Section 4.3.7

       of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is readily

       achievable.

          II. 3341 NW 168th Street (Center Parcel)

       A. Parking

  i.   The plaintiff had difficulty exiting the vehicle, as an access aisle of the required width is not

       provided. Violation: There are accessible parking spaces that do not have compliant access

       aisles provided, violating Sections 4.1.2(5a) and 4.6.3 of the ADAAG and Section 502.3.1 of

       the 2010 ADA Standards, whose resolution is readily achievable.

ii.    The plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are

       located on an excessive slope. Violation: There are accessible parking spaces located on an

       excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA

       Standards, whose resolution is readily achievable.

iii.   The plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

       aisles are located on an excessive slope. Violation: There are accessible parking space access

       aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4

       of the 2010 ADA Standards, whose resolution is readily achievable.

       B. Entrance Access and Path of Travel

  i.   The plaintiff could not traverse through areas of the facility, as the required 36” path is not

       provided. Violation: A continuous path of travel connecting all essential elements of the

       facility is not provided, violating Sections 4.2.1, 4.3.2(2), & 4.3.3 of the ADAAG and Sections

       206.2.2 & 403.5.1 of the 2010 ADA Standards, whose resolution is readily achievable.

ii.    The plaintiff had difficulty traversing the path of travel, as it was not continuous and



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       accessible. Violation: There are inaccessible routes between sections of the facility. These are

       violations of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and Sections

       206.2.2, 303, 402 and 403, whose resolution is readily achievable.

iii.   The plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

       Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and

       4.5.2 of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is readily

       achievable.

                                   COUNT II
                 SPG PALMETTO PALMS LLC AND RELIABLE PARTS, INC.

           26.       The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

    23 above as though fully set forth herein.

           27.       Defendants, SPG PALMETTO PALMS LLC and RELIABLE PARTS, INC., have

    discriminated, and continues to discriminate, against Plaintiff in violation of the ADA by failing,

    inter alia, to have accessible facilities by January 26, 1992 (or January 26, 1993, if a Defendants

    have 10 or fewer employees and gross receipts of $500,000 or less). A list of the violations that

    Plaintiff encountered during his visit to the Commercial Property, include but are not limited to,

    the following:

           I. 3351 NW 168th Street (West Parcel)

       A. Parking

  i.   The plaintiff had difficulty exiting the vehicle, as an access aisle of the required width is not

       provided. Violation: There are accessible parking spaces that do not have compliant access

       aisles provided, violating Sections 4.1.2(5a) and 4.6.3 of the ADAAG and Section 502.3.1 of

       the 2010 ADA Standards, whose resolution is readily achievable.

ii.    The plaintiff had difficulty exiting the vehicle, as designated accessible parking spaces are


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       located on an excessive slope. Violation: There are accessible parking spaces located on an

       excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4 of the 2010 ADA

       Standards, whose resolution is readily achievable.

iii.   The plaintiff had difficulty exiting the vehicle, as designated accessible parking space access

       aisles are located on an excessive slope. Violation: There are accessible parking space access

       aisles located on an excessive slope violating Section 4.6.3 of the ADAAG and Section 502.4

       of the 2010 ADA Standards, whose resolution is readily achievable.

       B. Entrance Access and Path of Travel

  i.   The plaintiff could not traverse through areas of the facility, as the required 36” path is not

       provided. Violation: A continuous path of travel connecting all essential elements of the

       facility is not provided, violating Sections 4.2.1, 4.3.2(2), & 4.3.3 of the ADAAG and Sections

       206.2.2 & 403.5.1 of the 2010 ADA Standards, whose resolution is readily achievable.

ii.    The plaintiff had difficulty traversing the path of travel, as it was not continuous and

       accessible. Violation: There are inaccessible routes between sections of the facility. These are

       violations of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and Sections

       206.2.2, 303, 402 and 403, whose resolution is readily achievable.

iii.   The plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

       Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and

       4.5.2 of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is readily

       achievable.

                                RELIEF SOUGHT AND THE BASIS

           28.    The discriminatory violations described in both Counts are not an exclusive list of

    the Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ places of



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   public accommodation in order to photograph and measure all of the discriminatory acts violating

   the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further

   requests to inspect any and all barriers to access that were concealed by virtue of the barriers'

   presence, which prevented Plaintiff, DOUG LONGHINI, from further ingress, use, and equal

   enjoyment of the Commercial Business and business located within the Commercial Property;

   Plaintiff requests to be physically present at such inspection in conjunction with Rule 34 and timely

   notice. A complete list of the Subject Premises’ ADA violations, and the remedial measures

   necessary to remove same, will require an on-site inspection by Plaintiff’s representatives pursuant

   to Federal Rule of Civil Procedure 34.

          29.     The individual Plaintiff, and all other individuals similarly situated, have been

   denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

   privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

   business and facilities; and has otherwise been discriminated against and damaged by the

   Defendants because of the Defendants’ ADA violations as set forth above. The individual

   Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

   damage without the immediate relief provided by the ADA as requested herein. In order to remedy

   this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of public

   accommodation in order to determine all of the areas of non-compliance with the Americans with

   Disabilities Act.

        30.       Defendants have discriminated against the individual Plaintiff by denying him

   access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

   accommodations of its place of public accommodation or commercial facility, in violation of 42

   U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendants continue to



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   discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

   modifications in policies, practices or procedures, when such modifications are necessary to afford

   all offered goods, services, facilities, privileges, advantages or accommodations to individuals with

   disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

   with a disability is excluded, denied services, segregated or otherwise treated differently than other

   individuals because of the absence of auxiliary aids and services.

           31.     Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

   clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all

   those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled

   to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §

   12205 and 28 CFR 36.505.

           32.     A Defendant is required to remove the existing architectural barriers to the

   physically disabled when such removal is readily achievable for their place of public

   accommodation, The Plaintiff and all others similarly situated, will continue to suffer such

   discrimination, injury and damage without the immediate relief provided by the ADA as requested

   herein. In order to remedy this discriminatory situation, The Plaintiff requires an inspection of the

   Defendants’ place of public accommodation in order to determine all of the areas of non-

   compliance with the Americans with Disabilities Act.

           33.     Notice to Defendants is not required as a result of the Defendants’ failure to cure

   the violations by January 26, 1992 (or January 26, 1993, if a Defendants have 10 or fewer

   employees and gross receipts of $500,000 or less). All other conditions precedent have been met

   by Plaintiff or waived by the Defendant.

           34.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant



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   Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate the

   business, located at and/or within the commercial property located at 3341; 3351; 3390 NW 168th

   Street, Miami Gardens, Florida 33056, the exterior areas, and the common exterior areas of the

   Commercial Property and business located within the Commercial Property, to make those

   facilities readily accessible and useable to The Plaintiff and all other mobility-impaired persons;

   or by closing the facility until such time as the Defendants cure the violations of the ADA.

          WHEREFORE, The Plaintiff, DOUG LONGHINI, respectfully requests that this

   Honorable Court issue (i) a Declaratory Judgment determining Defendant at the commencement

   of the subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act,

   42 U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendant including an order to make all

   readily achievable alterations to the facilities; or to make such facilities readily accessible to and

   usable by individuals with disabilities to the extent required by the ADA; and to require Defendant

   to make reasonable modifications in policies, practices or procedures, when such modifications

   are necessary to afford all offered goods, services, facilities, privileges, advantages or

   accommodations to individuals with disabilities; and by failing to take such steps that may be

   necessary to ensure that no individual with a disability is excluded, denied services, segregated or

   otherwise treated differently than other individuals because of the absence of auxiliary aids and

   services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

   12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

   Title III of the Americans with Disabilities Act.

   Dated: January 25, 2021

                                                  GARCIA-MENOCAL & PEREZ, P.L.
                                                  Attorneys for Plaintiff
                                                  4937 S.W. 74th Court
                                                  Miami, Florida 33155


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                                     Telephone: (305) 553-3464
                                     Facsimile: (305) 553-3031
                                     Primary E-Mail: ajperez@lawgmp.com
                                     Secondary E-Mails: bvirues@lawgmp.com
                                     aquezada@lawgmp.com

                                     By: ___/s/_Anthony J. Perez________
                                            ANTHONY J. PEREZ
                                            Florida Bar No.: 535451
                                            BEVERLY VIRUES
                                            Florida Bar No.: 123713




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